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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

  KEVIN BURNS,                                         CASE NO.:

         Plaintiff,

  vs.

  MEDICREDIT, INC.,                                    DEMAND FOR JURY TRIAL

         Defendant.

                                                 /


                                            COMPLAINT

         COMES NOW, Plaintiff, Kevin Burns (hereafter “Plaintiff”), by and through undersigned

  counsel, and hereby sues Defendant, MediCredit, Inc., (hereafter “Defendant”), and states as

  follows:

                                  PRELIMINARY STATEMENT

         This action arises out of Defendant’s violations of the Florida Consumer Collection

  Practices Act, Florida Statute §§ 559.55 et seq. (hereafter the “FCCPA”), the Fair Debt Collection

  Practices Act, 15 U.S.C. §§ 1692 et seq. (hereafter the “FDCPA”), and the Telephone Consumer

  Protection Act, 47 U.S.C. §§ 227 et seq. (hereafter the “TCPA”).

                                   JURISDICTION AND VENUE

         1.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

  28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA

  and/or by F.S. § 47.011 and/or by 28 U.S.C § 1332, diversity jurisdiction.

         2.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this action,

  is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts shall have
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  original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the United

  States; this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii).

          3.      Pursuant to 28 U.S.C. § 1391(b), venue is proper in this District because the

  Plaintiff resides in this District, the phone calls were received in this District, and Defendant

  transacts business in this District.

                                      FACTUAL ALLEGATIONS

          4.      Plaintiff is an individual residing in Palm Beach County, Florida.

          5.      Plaintiff is a consumer as defined by the FCCPA, Fla. Stat. § 559.55(2).

          6.      Defendant is a foreign profit corporation as registered with the Florida Department

  of State, Division of Corporations.

          7.      Defendant is a “Creditor,” as defined by the FCCPA, Fla. Stat. § 559.55(5) and by

  the FDCPA, 15 U.S.C. §1692a(4), and does business throughout the state of Florida, including

  Palm Beach County, Florida

          8.      Defendant is a “Debt Collector,” as defined by the FCCPA, Fla. Stat. § 559.55(7)

  and by the FDCPA, 15 U.S.C. § 1692a(6), and does business throughout the state of Florida,

  including Palm Beach County.

          9.      Defendant is a “person” subject to regulations under Fla. Stat. § 559.72 and 47

  U.S.C. § 227(b)(1).

          10.     The conduct of Defendant, which gives rise to the cause of action herein alleged,

  occurred in this District, Palm Beach County, Florida, by the Defendant’s placing of unlawful

  telephone calls to Plaintiff’s cellular telephone.

          11.     Defendant, at all material times, was attempting to collect a debt relating to a

  hospital bill in the name of Plaintiff.
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         12.      Defendant sought to collect an alleged debt from Plaintiff that arose from a

  transaction incurred for personal, family, or household purposes and therefore is an alleged

  “consumer debt” as defined by the FCCPA, Fla. Stat. §559.55(6) and FDCPA, 15 U.S.C.

  §1692a(5).

         13.      Plaintiff revoked any prior express consent to contact Plaintiff via cell phone or any

  other form of communication on October 3, 2017, when Plaintiff verbally advised Defendant to

  stop calling his cellular telephone.

         14.      In addition to Plaintiff verbally revoking his consent to be contacted, On October

  3, 2017, Plaintiff also revoked any prior consent for Defendant to contact Plaintiff via cellular

  telephone or any other form of communication through a facsimile transmission to Defendant’s

  facsimile number (855) 434-5959.

         15.      Plaintiff’s communication sent to Defendant via facsimile transmission specifically

  stated, “As of the date of this letter, I am requesting that you no longer call my cell phone or contact

  me directly.”

         16.      In addition to the request not to be contacted by Defendant, Plaintiff’s facsimile

  transmission directed Defendant to contact Plaintiff’s attorney and included the name of the law

  firm representing Plaintiff and the contact information for the law firm.

         17.      Despite Plaintiff sending a written request not to be contacted via his cellular

  telephone and directing communication via his attorney, Defendant continued to contact Plaintiff

  directly via his cellular telephone.

         18.      All calls to Plaintiff’s cell phone were made after Plaintiff revoked any “alleged”

  consent and without the “prior express consent” of Plaintiff.
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         19.     Plaintiff is the regular user and carrier of the cellular telephone number ending in -

  1622 and was the called party and recipient of Defendant’s automatic telephone dialing system

  and/or artificial or prerecorded voice.

         20.     Defendant knowingly and/or willfully called Plaintiff’s cellular telephone after

  Defendant had unequivocal notice from Plaintiff to cease any and all calls and after Plaintiff

  withdrew any prior consent or permission to be contacted.

         21.     Defendant knowingly and/or willfully called Plaintiff’s cellular telephone after

  Defendant had unequivocal notice that Plaintiff was represented by an attorney and could readily

  ascertain the Firm’s contact information.

         22.     Defendant used an automatic telephone dialing system or an artificial or pre-

  recorded voice to place telephone calls to Plaintiff’s cellular telephone.

         23.     The following phone number, including, but not limited to (800) 823-2318, is a

  phone number that Defendant used to call Plaintiff’s cellular telephone.

         24.     Defendant has, or should be in possession and/or control of call logs, account notes,

  autodialer reports and/or other records that detail the exact number of all calls made to Plaintiff.

         25.     Defendant placed calls to Plaintiff’s cellular telephone that included delays in time

  before the telephone call was transferred to a representative to speak.

         26.     Plaintiff did not speak with a representative during some of the phone calls placed

  by Defendant because there was no representative on the telephone call that spoke or attempted to

  communicate with Plaintiff after Plaintiff answered the telephone call.

         27.     Some of the representatives who called Plaintiff’s cellular telephone sounded like

  an artificial or pre-recorded voice.
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          28.    Plaintiff did not speak with a live representative during many of the phone calls

  because they were made by Defendant using an artificial or pre-recorded voice.

          29.    Plaintiff’s attorney did not fail to respond within a reasonable period of time to any

  communication from Defendant and did not consent to Defendant’s direct communication with

  Plaintiff.

          30.    The calls from Defendant to Plaintiff’s cellular telephone continued despite

  Plaintiff expressly revoking his consent to be called via cellular telephone.

          31.    None of Defendant’s telephone calls placed to Plaintiff were for “emergency

  purposes” as specified in 47 U.S.C. § 227 (b)(1)(A).

          32.    None of Defendant’s telephone calls placed to Plaintiff were made with Plaintiff’s

  “prior express consent” as specified in 47 U.S.C. § 227 (b)(1)(A).

          33.    All conditions precedent to the filing of this lawsuit have been performed or have

  occurred.

                                      COUNT I
                     VIOLATION OF THE FCCPA, FLA. STAT. § 559.72(7)

          34.    Plaintiff incorporates all allegations in paragraphs 1-33 as if stated fully herein.

          35.    Jurisdiction is proper pursuant to Florida Statute § 559.77(1).

          36.    Defendant violated Florida Statute § 559.72(7) when it willfully communicated

  with Plaintiff with such frequency as can reasonably be expected to abuse or harass Plaintiff.

          37.    Specifically, Defendant continued to make numerous telephone calls to Plaintiff’s

  cellular telephone after being notified in writing to no longer call Plaintiff’s cellular telephone.

          38.    Despite Defendant’s knowledge of Plaintiff’s request not to be contacted via

  cellular telephone and advisement of representation by counsel, Defendant continued to call

  Plaintiff’s cellular telephone.
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         39.     The continued contact by Defendant was abusive and harassing to Plaintiff.

         WHEREFORE, Plaintiff, Kevin Burns, demands judgment against Defendant,

  MediCredit, Inc., for the following relief:

                 a.        any actual damages sustained by Plaintiff as a result of the above

  allegations;

                 b.        statutory damages pursuant to Florida Statute § 559.77(2) in the amount of

  $1,000.00;

                 c.        pursuant to §559.77(2), any specific or injunctive relief necessary to make

  Plaintiff whole;

                 d.        in the case of a successful action sustaining the liability of Defendant,

  pursuant to the FCCPA, Fla. Stat. § 559.77(2), costs of the action, together with reasonable

  attorney’s fees incurred by Plaintiff; and

                 e.        any other relief the Court deems just and proper.

                                       COUNT II
                      VIOLATION OF THE FCCPA, FLA. STAT. § 559.72(18)

         40.     Plaintiff incorporates all allegations in paragraphs 1-33 as if stated fully herein.

         41.     Jurisdiction is proper, pursuant to Florida Statute § 559.77(1).

         42.         Defendant violated the FCCPA, Fla. Stat. § 559.72(18), when it knowingly

  communicated with Plaintiff after it knew Plaintiff was represented by counsel and could

  reasonably ascertain the name and address of counsel.

         43.     Specifically, Defendant continued to place phone calls to Plaintiff’s cellular

  telephone despite having actual knowledge that Plaintiff was represented by an attorney.

         WHEREFORE, Plaintiff, Kevin Burns, demands judgment against Defendant,

  MediCredit, Inc., for the following relief:
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                 a.       any actual damages sustained by Plaintiff as a result of the above

  allegations;

                 b.       statutory damages pursuant to Florida Statute § 559.77(2) in the amount of

  $1,000.00;

                 c.       pursuant to §559.77(2), any specific or injunctive relief necessary to

  make Plaintiff whole;

                 d.       in the case of a successful action sustaining the liability of Defendant,

  pursuant to the FCCPA, Fla. Stat. § 559.77(2), costs of the action, together with reasonable

  attorney’s fees incurred by Plaintiff; and

                 e.       any other relief the Court deems just and proper.

                                     COUNT III
                      VIOLATION OF THE FDCPA, 15 U.S.C. § 1692c(a)(2)

         44.     Plaintiff incorporates all allegations in paragraphs1-33 as if stated fully herein.

         45.     Defendant violated the FDCPA, 15 U.S.C. § 1692c(a)(2), when it knowingly

  communicated with Plaintiff after it knew Plaintiff was represented by counsel and could

  reasonably ascertain the name and address of counsel.

         46.     Specifically, Defendant continued to place phone calls to Plaintiff’s cellular

  telephone despite having actual knowledge that Plaintiff was represented by an attorney.

         WHEREFORE, Plaintiff, Kevin Burns, demands judgment against Defendant,

  MediCredit, Inc., for the following relief:

                 a.       any actual damages sustained by Plaintiff as a result of the above

  allegations;

                 b.       statutory damages pursuant to 15 U.S.C. § 1692k(a)(2) in an amount up to

  $1,000.00;
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                 c.      in the case of a successful action sustaining the liability of Defendant,

  pursuant to 15 U.S.C. § 1692k(a)(3), costs of the action, together with reasonable attorney’s fees

  incurred by Plaintiff; and

                 d.      any other relief the Court deems just and proper.

                                      COUNT IV
                       VIOLATION OF THE FDCPA, 15 U.S.C. § 1692d(5)

          47.    Plaintiff incorporates all allegations in paragraphs 1-33 as if stated fully herein.

          48.    Defendant violated the FDCPA, 15 U.S.C. § 1692d(5) by causing a telephone to

  ring or engaging any person in telephone conversation repeatedly or continuously with intent to

  annoy, abuse, or harass any person at the called number.

          49.    Specifically, Defendant caused Plaintiff’s cellular telephone to ring repeatedly or

  continuously after it knew that it did not have consent to contact Plaintiff via cellular telephone.

          50.    Despite Defendant’s knowledge of Plaintiff’s request not to be contacted via

  cellular telephone and advisement of representation by counsel, Defendant continued to call

  Plaintiff’s cellular telephone.

          51.    The continued contact by Defendant was annoying, abusive, and harassing to

  Plaintiff.

          WHEREFORE, Plaintiff, Kevin Burns, demands judgment against Defendant,

  MediCredit, Inc., for the following relief:

                 a.      any actual damages sustained by Plaintiff as a result of the above

  allegations;

                 b.      statutory damages pursuant to 15 U.S.C. § 1692k(a)(2) in an amount up to

  $1,000.00;
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                 c.       in the case of a successful action sustaining the liability of Defendant,

  pursuant to 15 U.S.C. § 1692k(a)(3), costs of the action, together with reasonable attorney’s fees

  incurred by Plaintiff; and

                 d.       any other relief the Court deems just and proper.

                                       COUNT V
                      VIOLATION OF THE TCPA, 47 U.S.C. § 227(b)(1)(A)(iii)

         52.     Plaintiff incorporates all allegations in paragraphs 1-33 as if stated fully herein.

         53.     Jurisdiction is proper pursuant to 47 U.S.C. § 227(b)(3).

         54.     Defendant used an automatic telephone dialing system or an artificial or

  prerecorded voice as defined by 47 U.S.C. § 227(a)(1)(A)(iii) to make telephone calls to Plaintiff’s

  cellular telephone.

         55.     Defendant independently violated 47 U.S.C. § 227(b)(1)(A)(iii) for each call that

  Defendant placed to Plaintiff’s cellular telephone using an automatic telephone dialing system or

  an artificial or prerecorded voice.

         56.     The phone calls made by Defendant are considered willing and knowing violations

  of the TCPA, as Defendant is well aware of the TCPA and its prohibitions.

         WHEREFORE, Plaintiff, Kevin Burns, demands judgment against Defendant,

  MediCredit, Inc., for the following relief:

                 a.       statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) in the amount of

  $500.00 for each of the independent violations occurring after Plaintiff’s revocation;

                 b.       an increase in the amount of the award to an amount equal to three times

  the amount available pursuant to 47 U.S.C. § 227(b)(3)(B) where each of Defendant’s independent

  violations were made willfully or knowingly; and

                 c.       any other relief the Court deems just and proper.
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                                   DEMAND FOR JURY TRIAL

          Plaintiff demands a trial by jury as to all issues.



   Date: June 19, 2018                           BOSS LAW


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